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                                                     HEWLETT PACKARD ENTERPRISE CO.
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16
17                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18                                      SAN JOSE DIVISION
19
20   UNITED STATES OF AMERICA,                            CASE NO. 5:25-cv-00951-PCP

21                       Plaintiff                        JOINT ADMINISTRATIVE
                   v.
22                                                        MOTION TO FILE UNDER SEAL

23                                                        DATE: June 27, 2025
     HEWLETT PACKARD ENTERPRISE CO.                       JUDGE: Hon. P. Casey Pitts
24   and JUNIPER NETWORKS, INC.,
25
                         Defendants.
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                           PARTIES’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1          Pursuant to Civil Local Rule 79-5 and the Joint Stipulation Regarding Modifications of Civil
 2   Local Rule 79-5 for Pre-Trial Filings (“Joint Pre-Trial Filings Sealing Stipulation”), ECF No. 191,
 3   Plaintiff United States of America and Defendants Hewlett Packard Enterprise Co. and Juniper
 4   Networks submits this Administrative Motion to File Under Seal the Parties’ Joint Submission
 5   Regarding Disputes About Admissibility of Trial Exhibits, Confidentiality Issues, and Deposition
 6   Designations (“Joint Submission”).
 7          The Joint Pre-Trial Filings Sealing Stipulation provides that the Parties may file Joint
 8   Stipulations and any supporting materials provisionally under seal if those filings include information
 9   for which the Party believes another Party or third party intends to request sealing. The Parties believe
10   that the Joint Submission contains such information and provisionally files it under seal as a result.
11
12
13    Dated: June 27, 2025                             /s/ Michael J. Freeman
                                                       MICHAEL J. FREEMAN (OH BAR #
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15                                                     U.S. Department of Justice
                                                       Antitrust Division
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16                                                   Enterprise Co.

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                            PARTIES’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1   Dated: June 27, 2025                 /s/ Steven C. Sunshine
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                            PARTIES’ JOINT ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                                   ATTORNEY ATTESTATION
 2             I, Miriam M. Arghavani, am the ECF user whose identification and password are being
 3   used to file the JOINT SUBMISSION REGARDING DISPUTES ABOUT ADMISSIBILITY OF
 4   TRIAL EXHIBITS, CONFIDENTIALITY ISSUES, AND DEPOSITION DESIGNATIONS. In
 5   compliance with Local Rule 5-1(i)(3), I hereby attest that all signatories hereto concur in this
 6
     filing.
 7
 8
                                                        /s/ Miriam M. Arghavani
 9                                                      Miriam M. Arghavani
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 1                                     CERTIFICATE OF SERVICE
 2        I certify that on June 27, 2025, I served the foregoing on all counsel of record via ECF.
 3
 4
 5   Dated: June 27, 2025                       By:    /s/ Miriam M. Arghavani
 6                                              Miriam M. Arghavani
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